            Case 6:19-cv-00390-ADA Document 1 Filed 06/24/19 Page 1 of 14



                           UNITED STATES DISTRICT COURT
                           FOR WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION



UNWIRED ASSET MANAGEMENT LLC,

               Plaintiff                               Case No. 6:19-cv-00390


               v.                                      JURY TRIAL DEMANDED


CALLFIRE, INC.

               Defendant



                                       COMPLAINT

       For its Complaint, Unwired Asset Management LLC ("UAM"), by and through

the undersigned counsel, alleges as follows:

                                      THE PARTIES

       1.       UAM is a Texas limited liability company with a place of business located

at 17330 Preston Road, Suite 200D, Dallas, Texas 75252.

       2.       Defendant CallFire, Inc. is a Delaware company, with, upon information

and belief, a place of business located in Austin, Texas.

                              JURISDICTION AND VENUE

       3.       This action arises under the Patent Act, 35 U.S.C. § 1 et seq.

       4.       Subject matter jurisdiction is proper in this Court under 28 U.S.C.

§§ 1331 and 1338.

       5.       Upon information and belief, Defendant conducts substantial business in

this forum, directly or through intermediaries, including: (i) at least a portion of the
            Case 6:19-cv-00390-ADA Document 1 Filed 06/24/19 Page 2 of 14



infringements alleged herein; and (ii) regularly doing or soliciting business, engaging in

other persistent courses of conduct and/or deriving substantial revenue from goods and

services provided to individuals in this district.

       6.       Venue is proper in this district pursuant to § 1400(b).

                                  THE PATENT-IN-SUIT

       7.       On July 1, 2014, U.S. Patent No. 8,768,756, entitled "System and Method

of Delivering Audio Communications," was duly and lawfully issued by the U.S. Patent

and Trademark Office. A true and correct copy of the '756 patent is attached hereto as

Exhibit A.

       8.       UAM is the assignee and owner of the right, title and interest in and to

the '756 patent, including the right to assert all causes of action arising under said

patent and the right to any remedies for infringement of it.

             COUNT I – INFRINGEMENT OF U.S. PATENT NO. 8,768,756

       9.       UAM repeats and realleges the allegations of paragraphs 1 through 8 as if

fully set forth herein.

       10.      Without license or authorization and in violation of 35 U.S.C. § 271(a),

Defendant is liable for infringement of at least claim 1 of the '756 patent by making,

using, importing, offering for sale, and/or selling, systems and methods for delivering

an audio communication, , including, but not limited to, Defendant's Interactive Voice

Response system ("IVR"), because each and every element is met either literally or

equivalently.

       11.      Upon information and belief, Defendant used IVR via its internal use and

testing in the United States, directly infringing one or more claims of the '756 patent.



                                              2
        Case 6:19-cv-00390-ADA Document 1 Filed 06/24/19 Page 3 of 14



      12.    For example, to create its documentation for developers, see, e.g.,

https://developers.callfire.com/callfire_xml_introduction.html, Defendant used IVR.

      13.    More specifically and upon information and belief, IVR provides a voice

message broadcasting platform or solution to advertisers or organizations for various

purposes such as surveys, polls, payments, etc. The platform allows users to reply or

provide feedback by replying to the IVR menu.




https://developers.callfire.com/callfire_xml_introduction.html.




A    Guide    to:    Interactive    Voice    Response     at      p.   4   (available   at

https://www.callfire.com/sites/default/files/download/guides/ivr-guide.pd).

      14.    IVR provides different type of audio messages based on whether the call is

picked by the user or it gets forwarded to an answering machine or voicemail (e.g.,

                                            3
         Case 6:19-cv-00390-ADA Document 1 Filed 06/24/19 Page 4 of 14



"selectively delivering an audio message") using its Answering Machine Detection

(AMD) technology. The audio message delivered can be a personalized voice message

having content specific to a recipient (e.g., "content") along with message containing

information such as payments, appointment reminders, etc. (e.g., "advertising portion").




https://www.callfire.com/industries/utilities.




https://developers.callfire.com/individual_messaging.html.




                                             4
        Case 6:19-cv-00390-ADA Document 1 Filed 06/24/19 Page 5 of 14




https://answers.callfire.com/hc/en-us/articles/202376778-IVR-Designer-Basics.




                                          5
        Case 6:19-cv-00390-ADA Document 1 Filed 06/24/19 Page 6 of 14



https://www.callfire.com/blog/2009/05/01/callfire-releases-new-answering-machine-

detection-amd.




https://developers.callfire.com/broadcast_messaging.html.




https://developers.callfire.com/callfire_xml_amd.html.




                                           6
        Case 6:19-cv-00390-ADA Document 1 Filed 06/24/19 Page 7 of 14




https://www.callfire.com/help/docs/voice-broadcast/selecting-sounds/answering-machine.

      15.    When IVR detects that the call has been answered by a user (e.g., "call

was not routed to the voice mail system"), a pre-recorded personalized audio message is

played to the user including or followed by an IVR menu (e.g., "first available delivery

format") prompting the user to provide a response by pressing a key.




https://developers.callfire.com/individual_messaging.html.



                                           7
        Case 6:19-cv-00390-ADA Document 1 Filed 06/24/19 Page 8 of 14




https://www.callfire.com/help/docs/voice-broadcast/selecting-sounds/answering-machine.




https://developers.callfire.com/callfire_xml_amd.html.




                                           8
         Case 6:19-cv-00390-ADA Document 1 Filed 06/24/19 Page 9 of 14




Id.

      16.    When IVR detects that the call has been answered by an answering

machine or voicemail (e.g., "call was has been routed to the voice mail system"), a pre-

recorded voice message is sent to the voicemail of the user (e.g., "second available

delivery format"). The first and the second available delivery format are different as

the first format has a pre-recorded message followed by an IVR menu to capture the

feedback of the user while the second format is only a voice message being sent to the

user's voicemail.




https://developers.callfire.com/individual_messaging.html.



                                           9
        Case 6:19-cv-00390-ADA Document 1 Filed 06/24/19 Page 10 of 14




https://www.callfire.com/help/docs/voice-broadcast/selecting-sounds/answering-machine.




https://developers.callfire.com/callfire_xml_amd.html.




                                           10
        Case 6:19-cv-00390-ADA Document 1 Filed 06/24/19 Page 11 of 14




Id.

      17.    When a live caller is detected, the caller is presented with pre-recorded

messages    having   IVR   menu   (e.g.,   "advertising   portion   includes   a   primary

advertisement").




https://developers.callfire.com/individual_messaging.html.




                                           11
        Case 6:19-cv-00390-ADA Document 1 Filed 06/24/19 Page 12 of 14




https://developers.callfire.com/callfire_xml_amd.html.

      18.    When an answering machine is detected, the pre-recorded messages (e.g.,

"second available delivery format") are delivered or saved to the answering machine.

These pre-recorded messages are "non-interactive" messages or "advertisements" that

do not provide an IVR menu.




https://developers.callfire.com/individual_messaging.html.




                                           12
        Case 6:19-cv-00390-ADA Document 1 Filed 06/24/19 Page 13 of 14




https://developers.callfire.com/callfire_xml_amd.html.

      19.    UAM is entitled to recover from Defendant the damages sustained by

UAM as a result of Defendant's infringement of the '756 patent in an amount subject to

proof at trial, which, by law, cannot be less than a reasonable royalty, together with

interest and costs as fixed by this Court under 35 U.S.C. § 284.

                                   JURY DEMAND

      UAM hereby demands a trial by jury on all issues so triable.

                               PRAYER FOR RELIEF

      WHEREFORE, UAM requests that this Court enter judgment against

Defendant as follows:

      A.     An adjudication that Defendant has infringed the '756 patent;

      B.     An award of damages to be paid by Defendant adequate to compensate

UAM for Defendant's past infringement of the '756 patent and any continuing or future



                                           13
        Case 6:19-cv-00390-ADA Document 1 Filed 06/24/19 Page 14 of 14



infringement through the date such judgment is entered, including interest, costs,

expenses and an accounting of all infringing acts including, but not limited to, those

acts not presented at trial;

       C.     A declaration that this case is exceptional under 35 U.S.C. § 285, and an

award of UAM's reasonable attorneys' fees; and

       D.     An award to UAM of such further relief at law or in equity as the Court

deems just and proper.



Dated: June 24, 2019                    Respectfully submitted,

                                        /s/ Raymond W. Mort, III
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                                          14
